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HYDE & SWIGART




                                    13                            UNITED STATES DISTRICT COURT
                 Phoenix, Arizona




                                    14                                DISTRICT OF ARIZONA
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                                          Brian Swontek,                                         Case No.: 2:16-CV-03602-DJH
                                    17
                                    18                             Plaintiff,                    NOTICE OF SETTLEMENT AS
                                          v.                                                     TO EQUIFAX INFORMATION
                                    19
                                                                                                 SERVICES, LLC ONLY
                                    20    Experian Information Solutions,
                                          Inc.; Equifax Information Services,
                                    21
                                          LLC; Trans Union, LLC; RGS
                                    22    Financial, Inc.; Portfolio Recovery
                                    23    Associates, LLC; Continental
                                          Central Credit, Inc.; and Hughes
                                    24    Federal Credit Union,
                                    25
                                                                   Defendant.
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                                          ______________________________________________________________________________________________________
                                           Notice of Settlement                     - 1 of 2 -                       2:16-CV-03602-DJH
                                               Case 2:16-cv-03602-DJH Document 64 Filed 07/20/17 Page 2 of 2



                                     1                  Please take notice: Plaintiff and Defendant Equifax Information

                                     2          Services, LLC (“Equifax”) have settled this matter as to Equifax ONLY.
                                     3
                                                Plaintiff and Equifax intend to file a stipulation to dismiss Defendant Equifax
                                     4
                                     5          only with prejudice within 45 days of this notice.

                                     6
                                     7
                                     8   Date: July 20, 2017                                     Kazerouni Law Group
                                     9
                                    10                                                           By:/s/ Ryan L. McBride
                                    11                                                           Ryan L. McBride
                                                                                                 Attorney for the Plaintiff
                                    12
HYDE & SWIGART




                                    13
                 Phoenix, Arizona




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                                           Notice of Settlement                     - 2 of 2 -                       2:16-CV-03602-DJH
